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1    Michael E. Baumann (Bar No. 145830)
     Melissa D. Ingalls (Bar No. 174861)
2    Robyn E. Bladow (Bar No. 205189)
     Tammy A. Tsoumas (Bar No. 250487)
3    KIRKLAND & ELLIS LLP
     333 South Hope Street
4    Los Angeles, California 90071
     Telephone: (213) 680-8400
5    Facsimile: (213) 680-8500
     michael.baumann@kirkland.com
6    melissa.ingalls@kirkland.com
     robyn.bladow@kirkland.com
7    tammy.tsoumas@kirkland.com
8    Attorneys for Defendants
     DIRECTV, LLC and DIRECTV Holdings LLC
9
10                      UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
12   IN RE: NATIONAL FOOTBALL )            CASE NO. 2:15-ml-02668-BRO (JEMx)
     LEAGUE’S “SUNDAY TICKET” )
13   ANTITRUST LITIGATION     )            MEMORANDUM IN SUPPORT OF
                              )
14                            )            DIRECTV’S MOTION TO COMPEL
                              )            ARBITRATION AND STAY
15                            )            PROCEEDINGS
                              )
16                            )            Judge: Hon. Beverly Reid O’Connell
     THIS DOCUMENT RELATES    )
17   TO: ALL ACTIONS          )            Consolidated Amended Complaint Filed:
                              )            June 24, 2016
18                            )
                              )            Date:           December 12, 2016
19                            )            Time:           1:30 p.m.
                              )            Courtroom:      14
20                            )
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1    I.    INTRODUCTION
2          Each Plaintiff here has an agreement with DIRECTV to individually arbitrate
3    their disputes, including the one alleged in this lawsuit. The enforceability of these
4    arbitration agreements has been firmly settled for more than five years.
5    Notwithstanding the lack of any credible basis for trying to evade these contractual
6    obligations, Plaintiffs disregarded their arbitration agreements and filed this purported
7    class action against DIRECTV. DIRECTV therefore moves for an order compelling
8    Plaintiffs to arbitrate as they agreed.
9          In their Complaint, Plaintiffs Robert Gary Lippincott, Michael Holinko, 1465
10   3rd Avenue Restaurant Corp. (d/b/a Gael Pub) (“Gael Pub”), and Ninth Inning, Inc.
11   (d/b/a The Mucky Duck) (“The Mucky Duck”) (collectively, “Plaintiffs”) challenge
12   DIRECTV’s decades-old exclusive agreements with the NFL, contending that
13   DIRECTV charges “supra-competitive” and “unreasonable” prices for its NFL
14   Sunday Ticket® sports programming package and asserting claims under Sections 1
15   and 2 of the Sherman Act (15 U.S.C. §§ 1 and 2). But there is nothing “supra-
16   competitive” or “unreasonable” about the prices DIRECTV charges for NFL Sunday
17   Ticket, nor have DIRECTV and the NFL engaged in any behavior that violates the
18   Sherman Act. Quite the contrary, DIRECTV was just a startup television service
19   fiercely competing with established cable television providers when it first negotiated
20   for and obtained its exclusive distribution agreement with the NFL back in 1994. As a
21   result of DIRECTV’s sustained commitment to and substantial investment in the NFL
22   Sunday Ticket product, DIRECTV has negotiated subsequent renewals of its
23   exclusive distribution agreement despite competing bids from its television provider
24   rivals, which has in turn helped DIRECTV become the leading provider of direct
25   broadcast satellite television service in the country. Because the antitrust laws
26   encourage this type of competition for exclusive contracts, DIRECTV’s distribution
27   agreement for NFL Sunday Ticket is presumptively legal under the antitrust laws.
28   See, e.g., Kingray, Inc. v. NBA, Inc., 188 F. Supp. 2d 1177, 1196 (S.D. Cal. 2002)
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1    (quoting Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 735 (9th Cir.
2    1987)); Spinelli v. Nat’l Football League, 96 F. Supp. 3d. 81, 116 (S.D.N.Y. 2015);
3    see also Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 76 (3d Cir.
4    2010) (“[C]ompetition to be an exclusive supplier may constitute a ‘vital form of
5    rivalry, and often the most powerful one, which the antitrust laws encourage rather
6    than suppress.’”) (citation omitted). Plaintiffs’ antitrust challenge to NFL Sunday
7    Ticket accordingly lacks merit.
8           Arbitrators, however, will determine that Plaintiffs’ antitrust allegations are
9    baseless. A series of U.S. Supreme Court decisions has established beyond doubt that
10   Plaintiffs’ claims against DIRECTV must be resolved in individual arbitrations, not in
11   this purported class action. In AT&T Mobility LLC v. Concepcion, 563 U.S. 333
12   (2011), the Supreme Court held that the AT&T arbitration provision that is nearly
13   identical to the arbitration agreements Plaintiffs Lippincott and Holinko have with
14   DIRECTV is fully enforceable. The Ninth Circuit has acknowledged that
15   Concepcion’s broad reach requires enforcement of arbitration agreements under the
16   Federal Arbitration Act (“FAA”). See Coneff v. AT&T Corp., 673 F.3d 1155, 1158
17   (9th Cir. 2012) (“Concepcion is broadly written.”). In DIRECTV, Inc. v. Imburgia,
18   136 S. Ct. 463 (2015), which involved an arbitration clause nearly identical to Gael
19   Pub’s and The Mucky Duck’s arbitration agreements here, the Supreme Court
20   reaffirmed the broad holding in Concepcion: “The Federal Arbitration Act is a law of
21   the United States, and Concepcion is an authoritative interpretation of that Act.” Id. at
22   468.
23          Plaintiffs never should have filed this action against DIRECTV. This Court
24   should grant DIRECTV’s motion and compel Plaintiffs to arbitrate their individual
25   disputes in accordance with their respective arbitration agreements.
26   II.    BACKGROUND
27          As is customary with obtaining cellular, television, internet, banking, and
28   similar such services, there are terms and conditions that accompany the provision and
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1    receipt of DIRECTV television programming services. Those terms and conditions
2    are primarily contained in DIRECTV’s Residential and Commercial Customer
3    Agreements. See Decl. of Steven Mullins (“Mullins Decl.”) ¶ 2; Decl. of Amanda
4    Mitchell (“Mitchell Decl.”) ¶ 2. 1 Both DIRECTV’s Residential Customer Agreement
5    and Commercial Customer Agreement are posted at www.directv.com/legal and are
6    available to anyone, at any time, to review. Plaintiffs here were provided their
7    applicable DIRECTV Customer Agreements, and otherwise apprised of the terms and
8    conditions associated with receiving DIRECTV television service, multiple times and
9    in a variety of ways. Below, DIRECTV describes how each Plaintiff entered into their
10   respective Customer Agreements with DIRECTV, and then sets forth the relevant
11   terms of the Plaintiffs’ operative arbitration provisions.
12         A.     Plaintiffs Have Accepted Their DIRECTV Customer Agreements
13                And Their Arbitration Provisions Multiple Times And In Multiple
14                Ways.
15                1.     Plaintiff Robert Gary Lippincott
16         Plaintiff Lippincott, of Healdsburg, California, has been a residential DIRECTV
17   customer for more than six years, during which time he received and accepted the
18   DIRECTV Residential Customer Agreement, as updated, on seven occasions. See
19   Decl. of Michelle Stratton Harris (“Harris Decl.”) ¶ 5, Ex. 2 (2016 Residential
20   Customer Agreement); Mitchell Decl. ¶ 14, Exs. 4, 6, 8 (2013, 2014 and 2015
21   Residential Customer Agreements); Decl. of Julianne Lusain (“Lusain Decl.”) ¶ 7, Ex.
22   1 (2012 Residential Customer Agreement); Decl. of Alisa Kellogg (“Kellogg Decl.”) ¶
23   13, Ex. 1 (2011 Residential Customer Agreement); Decl. of Carine Yahinian
24   (“Yahinian Decl.”) ¶¶ 12, Ex. 1 (2010 Customer Agreement). Mr. Lippincott most
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26
27   1
      All declarations cited herein have been filed concurrently with DIRECTV’s Motion.
     For reference, the declarations filed in support of DIRECTV’s Motion are listed
28   alphabetically on page v.
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1    recently received the updated June 2016 Residential Customer Agreement on June 26,
2    2016. Harris Decl. ¶ 5, Ex. 2.
3          The very first paragraph of DIRECTV’s Customer Agreements (both
4    Residential and Commercial) highlights, with bold, capitalized emphasis, that the
5    Agreement includes an arbitration provision, and that the customer accepts the
6    Agreement’s terms by deciding to receive DIRECTV’s service:
7          THIS DESCRIBES THE TERMS AND CONDITIONS OF
8          YOUR RECEIPT OF AND PAYMENT FOR DIRECTV®
9          SERVICE AND IS SUBJECT TO ARBITRATION (SECTION 9)
10         AND DISCLAIMER OF WARRANTIES (SECTION 8). IF YOU
11         DO NOT ACCEPT THESE TERMS, PLEASE NOTIFY US
12         IMMEDIATELY AND WE WILL CANCEL YOUR ORDER OR
13         SERVICE SUBJECT TO APPLICABLE CANCELLATION
14         TERMS AND/OR FEES (SECTION 5). IF YOU INSTEAD
15         DECIDE TO RECEIVE OUR SERVICE, IT WILL MEAN
16         THAT YOU ACCEPT THESE TERMS AND THEY WILL BE
17         LEGALLY BINDING.
18   See Harris Decl. ¶ 4, Ex. 2, Intro (2016 Residential Customer Agreement); Kellogg
19   Decl. ¶ 31, Ex. 16, Intro (2014 Commercial Customer Agreement). When Mr.
20   Lippincott received his initial Customer Agreement, and then each updated Customer
21   Agreement, he had the opportunity to reject the terms by cancelling his DIRECTV
22   service. Mr. Lippincott has never sought to cancel his service after receiving the
23   DIRECTV Customer Agreement, and has instead accepted each agreement, including
24   the updated June 2016 Agreement, by continuing to receive DIRECTV’s service. See
25   Kellogg Decl. ¶ 14; Mitchell Decl. ¶ 15.
26         Mr. Lippincott also signed the DIRECTV Equipment Lease Agreement
27   (“ELA”) when he received new DIRECTV receiving equipment. See, e.g., Decl. of
28   Kyle Wells (“Wells Decl.”) ¶ 18, Ex. 6. (Lippincott signature capture for 2012), Ex. 7
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1    (2012 ELA). The first paragraph of the ELA states that “[t]he Customer Agreement,
2    together with this ELA, comprise the terms of your service agreement with
3    DIRECTV.” Id., Ex. 7. The ELA also informs customers that both the Customer
4    Agreement and ELA can be reviewed online at www.directv.com/legal. See id. And
5    under the bolded, underlined, and capitalized heading “ARBITRATION,” the ELA
6    confirms the parties’ agreement to arbitrate their disputes, as set forth in the Customer
7    Agreement’s arbitration provision:
8          You and DIRECTV agree that both parties will resolve any dispute
9          under this ELA, the DIRECTV Customer Agreement, or regarding
10         your DIRECTV service, through binding arbitration as fully set forth
11         in the DIRECTV Customer Agreement.
12   Id. Mr. Lippincott recently executed the ELA again on December 30, 2015, during a
13   service call for installing DIRECTV equipment at his new address. See id. ¶ 20, Ex.
14   10 (Lippincott signature capture for 2015), Ex. 9 (2015 ELA).
15         DIRECTV also notified Mr. Lippincott of the Customer Agreement and its
16   arbitration provision in many other ways throughout his years as a DIRECTV
17   subscriber. See, e.g., Yahinian Decl. ¶ 13, Ex. 2 (order confirmation reminding Mr.
18   Lippincott to “Review your customer agreements” and specifying key terms,
19   including that “any dispute arising under or relating to your agreements or service
20   with DIRECTV . . . will be resolved through binding arbitration as fully set forth in
21   your DIRECTV Customer Agreement”); Kellogg Decl. ¶ 16, Exs. 2, 3, 4 (examples
22   of monthly billing statements reminding Mr. Lippincott that “[y]our Customer
23   Agreement describes the terms and conditions upon which you accept our service.
24   Please consult your Customer Agreement, which is also available at
25   directv.com/agreement” and that disputes “may be resolved only through binding
26   arbitration, as provided in the Customer Agreement”).
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1                 2.     Plaintiff Michael Holinko
2          Plaintiff Michael Holinko, of Belle Mead, New Jersey, has been a residential
3    DIRECTV customer since 1998, during which time he received and accepted the
4    residential DIRECTV Customer Agreement on fourteen occasions. See Harris Decl. ¶
5    7, Ex. 2 (2016 Residential Customer Agreement); Mitchell Decl. ¶ 16, Exs. 2, 4, 6, 8
6    (2012, 2013, 2014, and 2015 Residential Customer Agreements); Kellogg Decl. ¶¶ 17-
7    26, Exs. 1, 5, 6, 7, 8, 9,10, 11, 12 (1997,1999, 2001, 2004, 2006, 2007, 2009, 2010
8    and 2011 Residential Customer Agreements); Yahinian Decl. ¶ 14. Mr. Holinko most
9    recently received the updated June 2016 Customer Agreement on June 5, 2016.
10   Harris Decl. ¶ 7. Like Mr. Lippincott, when Mr. Holinko received his initial
11   Customer Agreement, and any updated Customer Agreement over the years, he opted
12   to continue receiving DIRECTV’s service, thereby manifesting assent to the terms.
13   See Kellogg Decl. ¶ 27; Mitchell Decl. ¶ 17.
14         In addition, just like Mr. Lippincott, Mr. Holinko received additional
15   notifications and reminders about the Customer Agreement and the arbitration
16   provision. See, e.g., Yahinian Decl. ¶ 15, Ex. 3 (September 22, 2013 order
17   confirmation) (“You and DIRECTV agree that any dispute arising under or relating to
18   your agreements or service with DIRECTV . . . will be resolved through binding
19   arbitration as fully set forth in your DIRECTV Customer Agreement.”); id. ¶ 16, Ex. 4
20   (October 21, 2013 order confirmation) (same); Kellogg Decl. ¶ 29, Exs. 13, 14, 15
21   (examples of monthly billing statements noting that Customer Agreement contains
22   terms and conditions of DIRECTV service, where to find it online, and that disputes
23   will be resolved in arbitration).
24                3.     Plaintiff Gael Pub
25         Gael Pub, a bar and restaurant with multiple locations in New York City, has
26   been a commercial DIRECTV customer for ten years, during which time it received
27   and accepted the DIRECTV commercial customer agreement on multiple occasions.
28   See Kellogg Decl. ¶ 33, Ex. 16 (2014 Commercial Customer Agreement); Mullins
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1    Decl. ¶ 6, Exs. 1, 2 (2009 Commercial Viewing Agreement and 2010 notice letter
2    about updated 2009 Commercial Viewing Agreement); Decl. of John Gardner
3    (“Gardner Decl.”) ¶ 6, Exs. 1, 2 (2006 and 2008 Commercial Viewing Agreements).
4    Gael Pub most recently received and accepted the updated 2014 Commercial
5    Customer Agreement, and its updated version of the arbitration provision, in May
6    2014. Kellogg Decl. ¶ 33. Upon receiving this 2014 updated version of the
7    commercial viewing agreement, Gael Pub continued to receive DIRECTV service,
8    and continues to do so to this day. See id. ¶ 34.
9          Gael Pub has also received reminders in its monthly DIRECTV billing
10   statements that “The Commercial Viewing Agreement describes the terms and
11   conditions upon which you accept our service” and that disputes will be resolved
12   “through binding arbitration, as provided in the Commercial Viewing Agreement.”
13   See id. ¶ 36, Exs. 18, 19, 20 (examples of Gael Pub’s billing statements). Gael Pub
14   also received an order confirmation e-mail in October 2015 reminding it (in bold) to
15   “[r]eview your customer agreements,” with hyperlinks to the Commercial Customer
16   Agreement and to a list of key terms and conditions, including that any dispute must
17   be resolved in binding arbitration as set forth in the Customer Agreement. Yahinian
18   Decl. ¶ 17, Exs. 5 (October 2015 order confirmation), 6 (link at “View Agreements”),
19   7 (link at “View Terms & Conditions”).
20                4.    Plaintiff The Mucky Duck
21         The Mucky Duck, a sports bar in San Francisco, California, has been a
22   commercial DIRECTV customer for twenty years, during which time it received and
23   accepted the DIRECTV Commercial Customer Agreement on multiple occasions. See
24   Kellogg Decl. ¶ 36, Ex. 16 (2014 Commercial Customer Agreement); Gardner Decl. ¶
25   7; Mullins Decl. ¶ 6, Exs. 1, 2 (2009 Commercial Viewing Agreement and 2010
26   notice letter about updated 2009 Commercial Viewing Agreement). Like Gael Pub,
27   The Mucky Duck most recently received the updated 2014 Commercial Customer
28   Agreement, and updated arbitration provision, in June 2014. Kellogg Decl. ¶ 36, Ex.
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1    16 (2014 Commercial Customer Agreement). Upon receiving the 2014 updated
2    agreement, The Mucky Duck decided to continue accepting DIRECTV service in June
3    2014, as it had since 1996, and remains a DIRECTV subscriber to this day. Id. ¶ 37.
4          The Mucky Duck’s monthly DIRECTV billing statements also remind it that
5    “The Commercial Viewing Agreement describes the terms and conditions upon which
6    you accept our service” and that disputes will be resolved “through binding
7    arbitration, as provided in the Commercial Viewing Agreement.” See id. ¶ 39, Exs.
8    22, 23, 24 (examples of The Mucky Duck’s billing statements). And on August 26,
9    2015, when it added the Big Ten Network to its DIRECTV service, The Mucky Duck
10   received an order confirmation e-mail that advised it to “[r]eview your customer
11   agreements” and included a hyperlink to The Mucky Duck’s current Commercial
12   Customer Agreement and key terms and conditions, including arbitration. Yahinian
13   Decl. ¶ 18, Exs. 8 (August 26, 2015 order confirmation), 6 (link at “View
14   Agreements”), 7 (link at “View Terms & Conditions”).
15         In sum, Plaintiffs here received and accepted multiple DIRECTV Customer
16   Agreements with arbitration provisions during their many years as DIRECTV
17   customers. The operative arbitration provisions in Plaintiffs’ agreements with
18   DIRECTV are further described below.
19         B.    Both Mr. Lippincott’s And Mr. Holinko’s 2016 Residential Customer
20               Agreements And Gael Pub’s and The Mucky Duck’s 2014
21               Commercial Customer Agreements Contain FAA-Governed
22               Arbitration Provisions.
23         Because Mr. Lippincott and Mr. Holinko each received the updated 2016
24   DIRECTV Residential Customer Agreement, and remain residential DIRECTV
25   customers to this day, the 2016 DIRECTV Residential Customer Agreement and
26   arbitration provision govern Mr. Lippincott’s and Mr. Holinko’s relationships with
27   DIRECTV. See Harris Decl. ¶¶ 5-8, Ex. 2 (2016 Residential Customer Agreement).
28   Because Gael Pub and The Mucky Duck each received and accepted the updated 2014
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1    Commercial Customer Agreement, the 2014 Commercial Customer Agreement and
2    arbitration provision govern Gael Pub’s and The Mucky Duck’s relationships with
3    DIRECTV. See Kellogg Decl. ¶¶ 30-31, 33, 36, Ex. 16 (2014 Commercial Customer
4    Agreement). As with the earlier versions of the DIRECTV Agreements Plaintiffs
5    accepted over their many years as DIRECTV customers, the 2016 Residential
6    Customer Agreement and 2014 Commercial Customer Agreement contain arbitration
7    provisions that are expressly governed by the Federal Arbitration Act (“FAA”). See
8    Kellogg Decl. Ex. 16 §§ 9, 10(b); Harris Decl. Ex. 2 §§ 9, 10(b).
9                 1.     Relevant terms of the 2016 DIRECTV Residential Customer
10                       Agreement’s arbitration provision 2
11         The first paragraph of the 2016 Residential Customer Agreement states, in bold,
12   capitalized letters, that the Agreement is “SUBJECT TO ARBITRATION,” and
13   directs Plaintiffs to Section 9 for the arbitration provision. See Harris Decl. Ex. 2,
14   Intro. Also in bold, capitalized letters, and set off from the surrounding text, Section 9
15   is entitled “DISPUTE RESOLUTION BY BINDING ARBITRATION.” Id. § 9.
16   Section 9.1 then summarizes the arbitration provision’s terms:
17         In the unlikely event that DIRECTV’s customer service
18         department is unable to resolve a complaint you may have to your
19         satisfaction (or if DIRECTV has not been able to resolve a dispute
20         it has with you after attempting to do so informally), we each
21         agree to resolve those disputes through binding arbitration or
22         small claims court instead of in courts of general jurisdiction . . . .
23         Any arbitration under this Agreement will take place on an
24         individual basis; class arbitrations and class actions are not
25
     2
       AT&T acquired DIRECTV last year, and, as it has done every time it merged with or
26   acquired another company (such as Leaf Wireless and Cricket Wireless), it made
     AT&T’s arbitration clause available to DIRECTV’s residential customers as part of
27   the 2016 DIRECTV Residential Customer Agreement, and like DIRECTV’s prior
     residential arbitration agreement, the AT&T version is also unquestionably
28   enforceable. See Concepcion, 563 U.S. at 333.
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1          permitted. For any non-frivolous claim that does not exceed
2          $75,000, DIRECTV will pay all costs of the arbitration. Moreover, in
3          arbitration you are entitled to recover attorneys’ fees from DIRECTV
4          to at least the same extent as you would be in court.
5    Id. § 9.1 (emphasis in original). The arbitration agreement is expressly governed by
6    the FAA. Id. § 9.2(1).
7          Section 9.2 then sets forth the scope of the arbitration agreement: “DIRECTV
8    and you agree to arbitrate all disputes and claims between us.” Id. (emphasis in
9    original). Section 9.2 continues by explaining that the arbitration agreement is
10   “intended to be broadly interpreted” and includes, but is not limited to, “claims arising
11   out of or relating to any aspect of the relationship between us, whether based in
12   contract, tort, statute, fraud, misrepresentation or any other legal theory.” Id. The
13   arbitration provision also explains the meaning of the agreement to arbitrate (again, in
14   bold type): “You agree that, by entering into this Agreement, you and DIRECTV
15   are each waiving the right to a trial by jury or to participate in a class action.”
16   Id. (emphasis in original)
17         The arbitration agreement provides that DIRECTV will pay all arbitration costs
18   (id. § 9.2(3)); that all individual remedies available in court are available in arbitration
19   (id § 9.1); that any hearing will be conducted in the customer’s home town (id. §
20   9.2(3)); that disputes will be governed by the customer’s home state’s laws and
21   applicable federal laws (id. § 10(b)); that attorneys’ fees are available to a prevailing
22   customer (id. §§ 9.1, 9.2(4)-(5)); and that the customer may proceed in small claims
23   court as an alternative to arbitration (id. §§ 9.1, 9.2(1)). The provision also reiterates
24   that the customer and DIRECTV “AGREE THAT EACH MAY BRING CLAIMS
25   AGAINST THE OTHER ONLY IN YOUR OR ITS INDIVIDUAL CAPACITY,
26   AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED
27   CLASS OR REPRESENTATIVE PROCEEDING.” Id. § 9.2(6) (emphasis in
28   original).
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1          Finally, the 2016 Residential Customer Agreement provides that if the arbitrator
2    finds in the customer’s favor for an amount greater than the last settlement amount
3    offered by DIRECTV, then DIRECTV will “pay you the amount of the award or
4    $10,000 . . . whichever is greater,” and twice the amount of attorneys’ fees, along with
5    reasonable expenses. Id. § 9.2(4).
6                 2.     Relevant terms of the 2014 Commercial Customer
7                        Agreement’s arbitration provision
8          Similar to the Residential Customer Agreement’s arbitration provision (and in
9    fact modeled after recent versions of it), the first paragraph of the 2014 Commercial
10   Customer Agreement also states, in bold, capitalized letters, that the Agreement is
11   “SUBJECT TO ARBITRATION,” and directs Plaintiffs to Section 9 for the
12   arbitration provision. See Kellogg Decl. Ex. 16, Intro. Section 9 is entitled
13   “RESOLVING DISPUTES,” and states that all disputes between the commercial
14   customer and DIRECTV are subject to binding arbitration:
15         In order to expedite and control the cost of disputes, you and we agree
16         that any legal or equitable claim relating to this Agreement, any
17         addendum, or your Service (referred to as a “Claim”) will be resolved
18         as follows . . . . [I]f we cannot resolve a Claim informally, any Claim
19         either of us asserts will be resolved only by binding arbitration. The
20         arbitration will be conducted under the rules of JAMS that are in
21         effect at the time the arbitration is initiated . . . and under the rules set
22         forth in this Agreement.
23   Id. The arbitration provision also explains the meaning of the agreement to arbitrate
24   (again in bold, capitalized emphasis): “ARBITRATION MEANS THAT YOU
25   WAIVE YOUR RIGHT TO A JURY TRIAL.” Id. The arbitration provision is
26   expressly governed by the FAA (id. § 10(b)), and applies broadly to any claim relating
27   to the Commercial Customer Agreement, any addendum, or the commercial
28   customer’s DIRECTV service. See id. § 9. The provision provides that DIRECTV
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1    will pay all arbitration costs (id.); that all remedies available to the individual
2    commercial customer in court, including recovery of attorneys’ fees, are also available
3    in arbitration (id. § 9(b)); and that any hearing will take place in the commercial
4    customer’s home town area (id.). The provision also states that “[n]either you nor we
5    shall be entitled to join or consolidate claims in arbitration by or against other
6    individuals or entities, or arbitrate any claim as a representative member of a class or
7    in a private attorney general capacity.” Id. § 9(c)(ii).
8    III.   ARGUMENT
9           The arbitration agreements here are governed by the Federal Arbitration Act.
10   See 9 U.S.C. § 2 (contracts “evidencing a transaction involving commerce” are
11   governed by the FAA); see also Harris Decl. Ex. 2 § 9.2(1) (arbitration provision in
12   Residential Customer Agreement is expressly governed by the FAA); Kellogg Decl.
13   Ex. 16 § 10(b) (arbitration provision in Commercial Customer Agreement is expressly
14   governed by the FAA). Under the FAA, Plaintiffs’ arbitration agreements with
15   DIRECTV are “valid, irrevocable, and enforceable, save upon such grounds as exist at
16   law or in equity for the revocation of any contract.” 9 U.S.C. § 2. As the Supreme
17   Court has explained, “[t]he overarching purpose of the FAA, evident in the text of §§
18   2, 3 and 4 , is to ensure the enforcement of arbitration agreements according to their
19   terms so as to facilitate streamlined proceedings.” Concepcion, 563 U.S. at 344; see
20   also Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)
21   (stating that the FAA is “a congressional declaration of a liberal federal policy
22   favoring arbitration agreements”). And this “liberal federal policy favoring arbitration
23   agreements” applies “notwithstanding any state substantive or procedural policies to
24   the contrary.” Concepcion, 563 U.S. at 346 (internal quotation marks omitted);
25   accord, e.g., Murphy v. DirecTV, Inc., 724 F.3d 1218, 1225 (9th Cir. 2013).
26          Here, the Residential and Commercial Customer Agreements governing
27   Plaintiffs’ receipt of DIRECTV service contain FAA-governed arbitration provisions,
28   and Plaintiffs’ NFL Sunday Ticket disputes come within those provisions’ broad
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1    scopes. Because the Plaintiffs’ arbitration agreements with DIRECTV are valid and
2    enforceable under the FAA, this Court should compel arbitration and stay Plaintiffs’
3    claims pending completion of their respective individual arbitrations, just as courts
4    have done, time and again, as to the very agreements at issue here. See, e.g.,
5    Concepcion, 563 U.S. at 352 (enforcing AT&T arbitration agreement, which is nearly
6    identical to Lippincott’s and Holinko’s, with California plaintiffs applying FAA and
7    California law); Blau v. AT&T Mobility, 2012 WL 566565, at *3 (N.D. Cal. Feb. 21,
8    2012) (same); In re DIRECTV Early Cancellation Fee Mktg. & Sales Prac. Litig., 810
9    F. Supp. 2d 1060, 1066-70 (C.D. Cal. 2011) (enforcing DIRECTV arbitration
10   agreement with New Jersey plaintiff under FAA and New Jersey law), rev’d in part
11   on unrelated grounds, Lombardi v. DirecTV, Inc., 546 Fed. App’x 715 (9th Cir.
12   2013); In re DirecTV Early Cancellation Fee Mktg. & Sales Prac. Litig., 738 F. Supp.
13   2d 1062, 1084 (C.D. Cal. 2010) (enforcing DIRECTV arbitration agreement with New
14   York plaintiff under FAA and New York law); Hodsdon v. DIRECTV, LLC, 2012 WL
15   5464615 (N.D. Cal. Nov. 8, 2012) (enforcing DIRECTV arbitration agreement with
16   California plaintiff under FAA and California law); see also Roberts v. AT&T
17   Mobility LLC, 2016 WL 1660049, at *10 (N.D. Cal. Apr. 27, 2016); Santana v.
18   Verizon Wireless, 2014 WL 2197804, at *4 (N.D. Okla. May 27, 2014); O'Conner v.
19   AT&T Corp., 2013 WL 3107496, at *2-3 (M.D. La. June 18, 2013); Sherman v. AT&T
20   Inc., 2012 WL 1021823, at *4 (N.D. Ill. Mar. 26, 2012); see also Imburgia, 136 S. Ct.
21   at 471; Lombardi v. DirecTV, Inc., 549 Fed. App’x 617, 619 (9th Cir. 2013); Ferrie v.
22   DirecTV, LLC, 2016 WL 183474, at *12 (D. Conn. Jan. 12, 2016), appeal withdrawn
23   (May 4, 2016); Clements v. DIRECTV, LLC, 2014 WL 1266834, at *3 (W.D. Ark.
24   Mar. 26, 2014); Stachurski v. DirecTV, Inc., 642 F. Supp. 2d 758, 766 (N.D. Ohio
25   2009); Truitt v. DirecTV, Inc., 2008 WL 5054570, at *3 (E.D. La. Nov. 21, 2008).
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1          A.     Each Plaintiff Entered Into Customer Agreements With DIRECTV
2                 That Contain Arbitration Provisions.
3                 1.    Residential Plaintiffs Lippincott and Holinko
4          As explained above, after years of subscribing to DIRECTV television service
5    and entering into their initial and several updated Customer Agreements (including
6    their arbitration provisions), Mr. Lippincott and Mr. Holinko received the updated
7    2016 Residential DIRECTV Customer Agreement. See Harris Decl. ¶ 4, Ex. 2, Intro.,
8    § 9. Both Mr. Lippincott and Mr. Holinko accepted the updated terms contained in
9    the 2016 Customer Agreement, including its arbitration provision, by continuing to
10   receive DIRECTV service. See Harris Decl. ¶¶ 6, 8. Courts across the country,
11   including those applying California or New Jersey law (Lippincott’s and Holinko’s
12   home states), 3 have recognized that this type of “accept-or-return” method of contract
13   formation is valid. See, e.g., Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 593-
14   95 (1991) (enforcing terms on back of cruise ship ticket after passenger chose to board
15   cruise after receiving ticket); Ellin v. Credit One Bank, 2015 WL 7069660, at *3
16   (D.N.J. Nov. 13, 2015) (enforcing arbitration agreement under New Jersey law where
17   customer’s continued use of her credit card signaled acceptance of customer
18   agreement received in mail); Ackerberg v. Citicorp USA, Inc., 898 F. Supp. 2d 1172,
19   1176 (N.D. Cal. 2012) (same under California law); see also Sacchi v. Verizon Online
20   LLC, 2015 WL 765940, at *7 (S.D.N.Y. Feb. 23, 2015) (applying New Jersey law and
21   concluding that because “Plaintiff continued to use [Defendant’s] services” after
22   receiving a notice of Defendant’s updated terms and conditions of service, Plaintiff
23   “thereby accept[ed] the revised terms, including the arbitration clause”); Craig v.
24   Brown & Root, Inc., 84 Cal. App. 4th 416, 420-21 (2000) (enforcing arbitration
25
26
     3
       Contract formation with respect to arbitration agreements is governed by ordinary
27   state law principles, as long as they are applied consistently with the FAA. See Hill v.
     Gateway 2000, Inc., 105 F.3d 1147, 1148-50 (7th Cir. 1997); Schwartz v. Comcast
28   Corp., 256 Fed. App’x 515, 518-20 (3d Cir. 2007).
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1    agreement where employee continued to work for employer after receiving agreement
2    in mail).
3            Indeed, many courts, including the Ninth Circuit, have held that DIRECTV
4    customers who have continued to accept service upon receiving the Customer
5    Agreement, like Plaintiffs did here, have become parties to the Customer Agreement
6    and are bound by its terms, including its arbitration provision. See, e.g., Murphy, 724
7    F.3d at 1225 n.4 (confirming that continuing to accept DIRECTV’s services after
8    receiving the agreement bound customers to the terms of the contract); Clements,
9    2014 WL 1266834, at *3 (same); Stachurski, 642 F. Supp. 2d at 766 (same); Truitt,
10   2008 WL 5054570, at *3 (same); Bischoff v. DirecTV, Inc., 180 F. Supp. 2d 1097,
11   1103-06 (C.D. Cal. 2002) (same).
12           In addition, as mentioned earlier, both Mr. Lippincott and Mr. Holinko received
13   and accepted numerous prior versions of the Customer Agreement, including their
14   arbitration provisions, during their many years as DIRECTV customers. See Mitchell
15   Decl. ¶¶ 14, 16; Lusain Decl. ¶ 7; Kellogg Decl. ¶¶ 13, 18-26. And Mr. Lippincott
16   also executed ELAs, confirming his agreement to arbitrate his individual disputes with
17   DIRECTV (Wells Decl. ¶¶ 18-20), which provides yet no other basis on which to
18   conclude that he agreed to arbitrate this dispute with DIRECTV. See Brown v.
19   DIRECTV, LLC, 2013 WL 3273811, at *4 (C.D. Cal. June 26, 2013) (plaintiff
20   expressly assented to Customer Agreement and its arbitration provision by signing
21   ELA).
22                 2.    Commercial Plaintiffs Gael Pub and The Mucky Duck
23           After years of subscribing to DIRECTV services for their commercial
24   establishments, and having entered into prior commercial viewing agreements with
25   DIRECTV that contained arbitration provisions, commercial subscribers Gael Pub and
26   The Mucky Duck received the updated 2014 Commercial Customer Agreement and
27   its arbitration provision about two years ago. Kellogg Decl. ¶¶ 33, 36, Ex. 16 Intro, §
28   9. Both Gael Pub and The Mucky Duck decided to continue receiving DIRECTV
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1    service and thereby accepted the updated terms of the 2014 Commercial Customer
2    Agreement and its arbitration provision. Kellogg Decl. ¶¶ 34, 37. It is currently their
3    operative agreement with DIRECTV. See Murphy, 724 F. 3d at 1225 n.4; Tsadilas v.
4    Providian Nat’l Bank, 13 A.D.3d 190, 190 (N.Y. App. Div. 2004) (enforcing
5    arbitration provision in Defendant’s cardholder agreement because “Defendant
6    sufficiently proved that it sent the arbitration provision to plaintiff” and plaintiff’s
7    continued use of Defendant’s credit card constituted acceptance); see also God’s
8    Battalion of Prayer Pentecostal Church, Inc. v. Miele Assocs., LLP, 845 N.E.2d 1265,
9    1266-67 (N.Y. 2006) (noting the “long-standing rule that an arbitration clause in a
10   written agreement is enforceable, even if the agreement is not signed,” where “both
11   parties operated under [the agreement’s] terms”).
12         In addition, as mentioned earlier, Gael Pub and The Mucky Duck each accepted
13   prior versions of the DIRECTV commercial viewing agreement, including their
14   arbitration provisions, and received numerous other documents from DIRECTV
15   during their many years as DIRECTV commercial customers that reminded them of
16   their arbitration agreements. See Mullins Decl. ¶¶ 5-6 (2009 Commercial Customer
17   Agreement); Gardner Decl. ¶ 6, Exs. 1, 2 (Gael Pub’s signed 2006 and 2008
18   commercial viewing agreements); Yahinian Decl. ¶¶ 17-18, Exs. 5, 8 (Gael Pub’s and
19   The Mucky Duck’s 2015 order confirmations); Kellogg Decl. ¶¶ 35, 38, Exs. 18, 19
20   20, 22, 23, 24. (examples of Gael Pub’s billing statements and examples of The
21   Mucky Duck’s billing statements). By continuing their DIRECTV service, Gael Pub
22   and The Mucky Duck have agreed to arbitrate their disputes with DIRECTV
23   throughout the course of their years as DIRECTV customers. See Murphy, 724 F. 3d
24   at 1225 n.4; Tsadilas, 13 A.D.3d at 190.
25         B.     Plaintiffs’ Claims Fall Within Their Arbitration Provisions’ Broad
26                Scopes.
27         The next inquiry is whether Plaintiffs’ disputes fall within the scope of the
28   parties’ arbitration agreements. Given the strong federal policy favoring arbitration,
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1    “any doubts concerning the scope of arbitrable issues should be resolved in favor of
2    arbitration,” Moses H. Cone, 460 U.S. at 24-25. Here, as discussed below, the
3    question of whether Plaintiffs’ disputes about their NFL Sunday Ticket sports
4    programming service falls within the scope of their arbitration agreements is not a
5    close one.
6                 1.     Mr. Lippincott’s and Mr. Holinko’s claims about their NFL
7                        Sunday Ticket programming service easily fall within their
8                        arbitration agreement’s broad scope.
9          The Residential Customer Agreement’s arbitration clause extends to “all
10   disputes and claims between us”. Harris Decl. Ex. 2 § 9.2(1) (emphasis in original).
11   The arbitration agreement’s scope language continues with a non-exhaustive list of
12   such “disputes and claims,” including “claims arising out of or relating to any aspect
13   of the relationship between us, whether based in contract, tort, statute, fraud,
14   misrepresentation or any other legal theory.” Id. Such language requiring arbitration
15   of “all disputes and claims” is to be interpreted broadly. See Cayanan v. Citi
16   Holdings, Inc., 928 F. Supp. 2d 1182, 1207 (S.D. Cal. 2013) (where arbitration
17   agreement contained language stating that “all disputes” between the parties were
18   subject to arbitration, “[t]he plain language of Plaintiffs’ arbitration agreements
19   indicates that the parties intended to agree to broad arbitration provisions”); Bassett v.
20   Elec. Arts Inc., 2015 WL 1298644, at *5 (E.D.N.Y. Feb. 9, 2015) (“Arbitration
21   provisions specifying that ‘any disputes’ shall be determined by arbitration are
22   typically deemed to be ‘broad’ arbitration provisions and are consistently upheld as
23   such.”), report and recommendation adopted, 93 F. Supp. 3d 95 (E.D.N.Y. 2015); see
24   also Concepcion, 563 U.S. at 336 (upholding the validity of an AT&T Mobility
25   arbitration agreement virtually identical to the one at issue here, which also required
26   “arbitration of all disputes”).
27         Here, Mr. Lippincott and Mr. Holinko allege that DIRECTV violated Sections 1
28   and 2 of the Sherman Act in connection with its NFL Sunday Ticket sports
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1    programming package. See Consolidated Amended Complaint, Dkt. No. 163. These
2    claims fall squarely within the broad scope of their arbitration agreements with
3    DIRECTV.
4                 2.     Gael Pub’s and The Mucky Duck’s NFL Sunday Ticket claims
5                        are also covered by their broadly-worded arbitration
6                        agreement.
7          The 2014 Commercial Customer Agreement’s arbitration provision extends to
8    “any legal or equitable claim relating to this Agreement, any addendum, or your
9    Service.” Kellogg Decl. Ex. 16, § 9. In an arbitration agreement, “the phrase ‘relating
10   to’ . . . has a broad and inclusive meaning.” United Commc’ns Hub, Inc. v. Qwest
11   Commc’ns, Inc., 46 Fed. App’x 412, 413 (9th Cir. 2002); see also Chiron Corp. v.
12   Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1131 (9th Cir. 2000) (arbitration
13   agreement containing “relating to” language is “broad and far reaching”). Indeed, one
14   court in this district found specifically that an antitrust action fell within the scope of a
15   prior DIRECTV Customer Agreement’s arbitration clause with identical language.
16   See Bischoff, 180 F. Supp. 2d at 1106 (“Plaintiffs allege that they have paid higher
17   prices for services and equipment than they otherwise would have but for DirecTV’s
18   alleged anti-competitive acts. These allegations center around DirecTV’s services,
19   disputes which clearly fall within the scope of the arbitration clause.”); see also
20   Hodsdon, 2012 WL 5464615, at *4 (noting that the DIRECTV “arbitration provision
21   is worded very broadly”).
22         There can be no question that the commercial Plaintiffs’ claims “relat[e] to”
23   both their DIRECTV service and their Commercial Customer Agreement, placing
24   them squarely within the scope of the Commercial Customer Agreement’s broad
25   arbitration provision.
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1          C.     Plaintiffs’ Claims Against DIRECTV Should Be Stayed Pending
2                 Arbitration.
3          When, as here, the FAA governs an arbitration provision that covers a
4    plaintiff’s claims, Section 3 of the FAA directs the district court to compel arbitration
5    and stay the lawsuit. See 9 U.S.C. § 3 (providing for a stay of court proceedings
6    pending the resolution of arbitration); see also, e.g., Gilmer v. Interstate/Johnson Lane
7    Corp., 500 U.S. 20, 25 (1991) (FAA “provides for stays of proceedings in federal
8    district courts when an issue in the proceeding is referable to arbitration, § 3”).
9    IV.   CONCLUSION
10         Plaintiffs’ arbitration agreements with DIRECTV are valid, enforceable, and
11   provide an efficient, cost-free way to resolve their individual disputes. This Court
12   should grant DIRECTV’s motion to compel arbitration and stay these proceedings
13   pending resolution of Plaintiffs’ individual arbitrations with DIRECTV.
14
15   Dated: August 8, 2016                        Respectfully submitted,
16
                                                  /s/ Robyn E. Bladow
17                                                Michael E. Baumann (Bar No. 145830)
                                                  Melissa D. Ingalls (Bar No. 174861)
18                                                Robyn E. Bladow (Bar No. 205189)
                                                  Tammy A. Tsoumas (Bar No. 250487)
19                                                KIRKLAND & ELLIS LLP
                                                  333 South Hope Street
20                                                Los Angeles, California 90071
                                                  Telephone: (213) 680-8400
21                                                Facsimile: (213) 680-8500
                                                  michael.baumann@kirkland.com
22                                                melissa.ingalls@kirkland.com
                                                  robyn.bladow@kirkland.com
23                                                tammy.tsoumas@kirkland.com
24                                                Attorneys for Defendants DIRECTV, LLC
                                                  and DIRECTV Holdings LLC
25
26
27
28
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                               AND STAY PROCEEDINGS
